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                     12 Attorneys for Defendants
                        FOUNTAINHEAD SBF LLC and
                     13 FOUNTAINHEAD COMMERCIAL
                        CAPITAL, LLC
                     14
                     15                                  UNITED STATES DISTRICT COURT
                     16                             CENTRAL DISTRICT OF CALIFORNIA
                     17
                     18 ELIZABETH M. BYRNES, INC., a                      Case No. 2:20-cv-04149-DDP (RAOx)
                        corporation, on behalf of itself and all
                     19 other similarly situated,                         DECLARATION OF MICHAEL R.
                                                                          FARRELL IN SUPPORT OF
                     20                     Plaintiff,                    DEFENDANTS FOUNTAINHEAD
                                                                          SBF LLC'S AND FOUNTAINHEAD
                     21               vs.                                 COMMERCIAL CAPITAL, LLC'S
                                                                          NOTICE OF MOTION AND
                     22 FOUNTAINHEAD COMMERCIAL                           MOTION TO DISMISS FIRST
                        CAPITAL, LLC; and DOES 1 through                  AMENDED CLASS ACTION
                     23 10, inclusive,                                    COMPLAINT
                     24                     Defendant.                    [Notice of Motion and Motion;
                                                                          Memorandum of Points and Authorities;
                     25                                                   and [Proposed] Order filed concurrently
                                                                          herewith]
                     26
                                                                          Date: September 14, 2020
                     27                                                   Time: 10:00 a.m.
                                                                          Hon. Dean D. Pregerson
                     28                                                   Ctrm: 9C
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                  -1-
                            1217000.01/LA                 DECLARATION OF MICHAEL R. FARRELL
           Case 2:20-cv-04149-DDP-RAO Document 23-2 Filed 08/14/20 Page 2 of 11 Page ID #:164



                      1                         DECLARATION OF MICHAEL R. FARRELL
                      2               I, Michael R. Farrell, declare:
                      3               1.    I am an attorney at the law firm of Allen Matkins Leck Gamble
                      4 Mallory & Natsis LLP, counsel of record for Defendants Fountainhead SBF LLC
                      5 and Fountainhead Commercial Capital, LLC ("Defendants").
                      6               2.    This Declaration is made in support of Defendants' Motion to Dismiss
                      7 First Amended Class Action Complaint ("Motion"). Certain communications were
                      8 excerpted by Plaintiff in the Complaint and full copies of such communications are
                      9 hereby provided to the Court for its consideration. See, e.g., Marder v. Lopez, 450
                     10 F.3d 445, 448 (9th Cir. 2006); Coto Settlement v. Eisenberg, 593 F.3d 1031, 1038
                     11 (9th Cir. 2010).
                     12               3.    A true and correct copy of Defendants' confirmation email to Plaintiff
                     13 Elizabeth M. Byrnes, Inc. ("Plaintiff") dated March 28, 2020, excerpted in
                     14 paragraph 16 of the Complaint, is attached hereto as Exhibit 1.
                     15               4.    A true and correct copy of Defendants' email to Plaintiff dated March
                     16 29, 2020, excerpted in paragraph 16 of the Complaint, is attached hereto as
                     17 Exhibit 2.
                     18               5.    A true and correct copy of Defendants' email to Plaintiff dated April
                     19 13, 2020, excerpted in paragraph 18 of the Complaint, is attached hereto as
                     20 Exhibit 3.
                     21               I declare under penalty of perjury under the laws of the State of California
                     22 that the foregoing is true and correct.
                     23               Executed this 14th day of August, 2020, at Los Angeles, California.
                     24
                     25                                                                 Michael R. Farrell
                     26                                                                 Michael R. Farrell

                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                 -2-
                            1217000.01/LA                DECLARATION OF MICHAEL R. FARRELL
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                           EXHIBIT 1
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                                                                                      EXHIBIT 1
                                                                                        PAGE 3
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                           EXHIBIT 2
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                                                                        EXHIBIT 2
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                                                                        EXHIBIT 2
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                           EXHIBIT 3
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     Since SBA’s PPP loans were launched just six business days ago, the lending
     community has received a demand surge that is unlike anything we have ever
     seen. Like many, we have been somewhat overwhelmed, yet honored by your
     requests. While we have been at the leading-edge regarding educating others
     about this program, we continue to be concerned about receiving proper, final
     guidelines to both close and disburse these loans. The Wall Street Journal noted
     over the weekend that many loans have been “reserved” and approved with loan
     numbers, but very few have actually closed and been funded.

     We ask for your patience with us (and all members of the lending community) as
     we process your requests as quickly and responsibly as we can. Should you feel
     the need to remove yourself from our loan queue and join another lender’s list,
     kindly let us know by emailing us at fountainheadcares@fountainheadcc.com, so
     we may continue to prioritize our list. Although we certainly don’t want to do this in
     such a time of need, we may eventually be forced to pause our acceptance of new
     submissions. Stay tuned for that determination and other developments in the days
     ahead.


     For more up to date information on the Paycheck Protection Program,
     please visit: https://www.fountainheadcc.com/ppp/ Help is coming soon…


     Stay safe and healthy,




                                                                                       EXHIBIT 3
                                                                                         PAGE 6
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   Chris Hurn,
   Founder/Chief Executive Officer,
   Fountainhead
   800-770-1504




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                                      Lake Mary, FL 32746-3491


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                                                                              EXHIBIT 3
                                                                                PAGE 7
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                                  #:173




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                                                                                       EXHIBIT 3
                                                                                         PAGE 8
